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                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:

                    HINDS & SHANKMAN, LLP, 21257 Hawthorne Blvd., Second Floor, Torrance, CA 90503

A true and correct copy of the foregoing document entitled (specify) DECLARATION OF JAMES ANDREW HINDS, JR.
AND JEFFREY C. YOHAI IN OPPOSITION TO TRUSTEE’S CLAIM OBJECTION will be served or was served (a) on
the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
July 29, 2019 I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:




                                                                                            Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) ______________________ I served the following persons and/or entities at the last known addresses in this
bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United
States mail, first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that
mailing to the judge will be completed no later than 24 hours after the document is filed.




                                                                                            Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) July 29, 2019 I served the
following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.


                                                                                            Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 July 29, 2019                                  MAYRA DURAN                                     /s/ Mayra Duran
 Date                           Printed Name                                                    Signature




            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
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 1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF):


       Ryan W Beall rbeall@lwgfllp.com, vrosales@wgllp.com;kadele@wgllp.com
       Thomas H Casey (TR) msilva@tomcaseylaw.com, thc@trustesolutions.net
       Jeffrey W Dulberg jdulberg@pszjlaw.com
       Oscar Estrada oestrada@ttc.lacounty.gov
       Marc C Forsythe kmurphy@goeforlaw.com, mforsythe@goeforlaw.com;goeforecf@gmail.com
       Beth Gaschen bgaschen@wgllp.com,
        kadele@wgllp.com;vrosales@wgllp.com;cbmeeker@gmail.com;cyoshonis@wgllp.com
       Richard Girgado rgirgado@counsel.lacounty.gov
       Barry S Glaser bglaser@swesq.com, erhee@swesq.com
       Jeffrey I Golden jgolden@wgllp.com, kadele@wgllp.com;vrosales@lwgfllp.com;cbmeeker@gmail.com
       Michael J Hauser michael.hauser@usdoj.gov
       James Andrew Hinds jhinds@jhindslaw.com, mduran@jhindslaw.com
       Marc Y Lazo mlazo@whbllp.com, rosie.cantillo.paralegal@gmail.com
       Faye C Rasch frasch@wgllp.com, kadele@wgllp.com;tziemann@wgllp.com
       Daren M Schlecter daren@schlecterlaw.com, assistant@schlecterlaw.com
       Kambiz J Shabani joseph@shabanipartners.com
       Paul R Shankman pshankman@jhindslaw.com, mduran@jhindslaw.com
       David B Shemano dshemano@shemanolaw.com
       Rachel M Sposato rsposato@jhindslaw.com, mduran@jhindslaw.com
       United States Trustee (SA) ustpregion16.sa.ecf@usdoj.gov



3. SERVED BY PERSONAL DELIVERY

Clerk to the Honorable Catherine E. Bauer
United States Bankruptcy Court
Central District of California
Ronald Reagan Federal Building and Courthouse
411 West Fourth Street, Suite 5165 / Courtroom 5D
Santa Ana, CA 92701-4593




            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
